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LENARD E. SCHWARTZER
2850 S. Jones Blvd., Ste |

Las Vegas, NV 89146

(702) 307-2022

TRUSTEE
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
Inre Case No. BK-S 19-12292-MKN
RANDALL WAYNE JONES, IN PROCEEDINGS UNDER CHAPTER 7

TRUSTEE’S MOTION TO DISMISS CASE
PURSUANT TO BANKRUPTCY CODE §§ 343
AND 521

Debtor Date: June 27, 2019

Time: 11:00 a.m.

Place: Foley Bldg., Third Floor

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The Motion of Lenard E. Schwartzer (the "Trustee") to dismiss this case represents:

l, Debtor filed for relief under the Bankruptcy Code on April 16, 2019, and the Trustee
has duly qualified and is now acting as the Chapter 7 Trustee of the estate of the above-referenced
debtor.

2. Debtor failed to attend his 341a hearing scheduled for May 15, 2019.

3. At the 341a hearing held on May 15, 2019, Trustee was advised by Debtor’s counsel
that the Debtor will not appear and wished for his case to be dismissed.

4, Debtor has a duty to attend the meeting of creditors under § 341(a) and be questioned
by the Trustee. Bankruptcy Code $343 states:

‘The debtor shall appear and submit to examination under oath at the meeting of creditors
under section 341 (a) of this title.”

5. Bankruptcy Code § 521(a)(3) provides:

(3)... cooperate with the trustee as necessary to enable the trustee to perform the trustee’s

 
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duties under this title.

6. This Court has authority to dismiss this case. /n re Ventura, 375 B.R. 103, 108 (Bankr.
E.D.N.Y. 2007).

WHEREFORE, Trustee prays for an order dismissing this case, and such other and further

relief as is just and proper.

DATED May 17, 2019

 

LENARD E. SCHWARTZER, TRUSTEE

DECLARATION OF TRUSTEE

I declare, under penalty of perjury, that the foregoing is true and correct, to the best of my

knowledge, information and belief.

DATED May 17, 2019 7A

LENARD E. SCHWARTZER, TRUSTEE

 
